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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
V.                                                §           CASE NO.2:10-CR-11-3 TJW-CE
                                                  §
RALPH ARTHUR FINLEY                               §


              ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                        FINDING DEFENDANT GUILTY

       On this day, the Court considered the Findings of Fact and Recommendation of United States

Magistrate Judge Charles Everingham IV regarding defendant’s plea of guilty and allocution to

Count 70 of an indictment with a violation of 21 U.S.C. § 841(c), possession of a List 1 chemical

with intent to manufacture methamphetamine. Having conducted a proceeding in the form and

manner prescribed by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the Court accept

the defendant’s guilty plea. The parties waived their right to file objections to the Findings of Fact

and Recommendation. The Court is of the opinion that the Findings of Fact and Recommendation

should be accepted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

States Magistrate Judge, filed February 7, 2011, are hereby ADOPTED.

       It is further ORDERED that, pursuant to defendant’s plea agreement, the Court finds

defendant GUILTY of Count 70 of the indictment in the above-numbered cause.
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   SIGNED this 28th day of February, 2011.



                                      __________________________________________
                                      T. JOHN WARD
                                      UNITED STATES DISTRICT JUDGE




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